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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                              )
     ex. rel. Louis Scutellaro,                        )
                                                       )
       Plaintiff,                                      )
                                                       )
       v.                                              )       Civil Action No. 10cv1094 (BAH)
                                                       )
CAPITOL SUPPLY, INC.,                                  )
                                                       )
       Defendant.                                      )
                                                       )

              NOTICE OF THE UNITED STATES OF ITS OPPOSITION
         TO DISMISSAL ON THE BASIS OF THE PUBLIC DISCLOSURE BAR

       Pursuant to the False Claims Act, 31 U.S.C. § 3730(e)(4)(A), the United States notifies

the Court that it is exercising its right to object to the dismissal of Relator Louis Scutellaro’s

First Amended Complaint on the basis of the Public Disclosure Bar.

       This matter initially arose on June 29, 2010, when Relator filed a quit tam complaint

alleging that Capitol Supply falsely marketed its office products, including paper shredders, for

sale on the GSA Advantage website as being made in the United States, when in reality some of

the products were made in China. ECF No. 1. Pursuant to the False Claims Act, the United

States began an investigation into the allegations of the qui tam Complaint and the GSA Office

of Inspector General (GSA OIG) served subpoenas on Capitol Supply to obtain documents

pertinent to the sales of products by Capitol Supply through schedule contracts with the GSA.

Petition for Enforcement (13mc373) at Exhibits A and C (ECF Nos. 1-2 and 1-4). Capitol

Supply’s failure to cooperate with the subpoenas caused the United States to file a Petition to

enforce the subpoena, and on March 19, 2014, this Court ordered Capitol Supply to properly and

fully respond to the subpoena. 13mc373 at ECF Nos. 1 and 16-17. Despite the Court’s specific
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